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           In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                           No. 15-049V
                                       Filed: April 8, 2015
                                           Unpublished

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VIOLET WILSON,             *
                           *
               Petitioner, *                                Ruling on Entitlement; Concession;
                           *                                Tetanus, Diphtheria, acellular Pertussis
v.                         *                                (“Tdap”); Shoulder Injury Related to
                           *                                Vaccine Administration (“SIRVA”);
                           *                                Special Processing Unit (“SPU”)
SECRETARY OF HEALTH        *
AND HUMAN SERVICES,        *
                           *
               Respondent. *
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Andrew Downing, Van Cott & Talamante, PLLC, Phoenix, AZ, for petitioner.
Justine Walters, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT 1

Vowell, Chief Special Master:

      On January 20, 2015, Violet Wilson filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq, 2 [the
“Vaccine Act” or “Program”]. The petition alleges that as a result of a Tetanus,
Diphtheria, acellular Pertussis (“Tdap”) vaccination on July 1, 2014, petitioner suffered a
“shoulder injury related to vaccine administration.” Petition at ¶10. The case was
assigned to the Special Processing Unit (“SPU”) of the Office of Special Masters.

       On April 7, 2015, respondent filed her Rule 4(c) Report [“Respondent’s Report”],
in which she concedes that petitioner is entitled to compensation in this case.
Respondent’s Report at 3. Specifically, respondent submits “that a preponderance of
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  Because this unpublished ruling contains a reasoned explanation for the action in this case, it will be
posted on the United States Court of Federal Claims' website, in accordance with the E-Government Act
of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501
note (2006)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2006).
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the evidence establishes that petitioner’s injury is consistent with a shoulder injury
related to vaccine administration (“SIRVA”), and that petitioner’s injury is not due to
factors unrelated to her July 1, 2014, Tdap vaccination.” Id.

       In view of respondent’s concession and the evidence before me, I find that
petitioner is entitled to compensation.

                                   s/Denise K. Vowell
                                   Denise K. Vowell
                                   Chief Special Master




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